              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL            :
FOUNDATION,                          :
                                     :
                 Plaintiff,          :
                                     :
      v.                             :             NO. 1:18-CV-00463
                                     :
ROBERT TORRES, in his official       :             CHIEF JUDGE CONNER
Capacity as Acting Secretary of the  :
Commonwealth of Pennsylvania, and    :             ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
Capacity as the Commissioner of the  :
Bureau of Commissions, Elections and :
Legislation,                         :
                                     :
                 Defendants.         :

                ________________________________________

                  DEFENDANTS’ MOTION TO DISMISS
                   PURSUANT TO FED. R. CIV. P. 12(b)
                ________________________________________

      Defendants Robert Torres, Acting Secretary of the Commonwealth of

Pennsylvania, and Jonathan M. Marks, Commissioner of the Bureau of

Commissions, Elections and Legislation, by and through their undersigned

counsel, hereby move to dismiss Plaintiff’s Complaint pursuant to Rule 12(b)(1)

and (6) of the Federal Rules of Civil Procedure. In support of this Motion, Messrs.
Torres and Marks rely on their supporting memorandum of law which will be filed

within 14 days pursuant to Rule 7.5 of the Local Rules of Court.


                                            Respectfully submitted,

                                            /s/ Daniel T. Brier
                                            Daniel T. Brier
                                            Donna A. Walsh

                                            Counsel for Defendants,
                                            Robert Torres and Jonathan M. Marks

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Dated: March 21, 2018
                  CERTIFICATE OF NONCONCURRENCE

      I, Daniel T. Brier, hereby certify that I sought the concurrence of counsel for

Plaintiff, Linda A. Kerns, Esquire, in this Motion. Ms. Kerns does not concur.



                                             /s/ Daniel T. Brier

Date: March 21, 2018
                         CERTIFICATE OF SERVICE

      I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing

Motion To Dismiss was served upon the following counsel of record via the

Court’s ECF system on this 21st day of March, 2018:


                          J. Christian Adams, Esquire
                          Noah H. Johnson, Esquire
                          Public Interest Legal Foundation
                          32E Washington Street
                          Suite 1675
                          Indianapolis, IN 46204

                          Linda A. Kerns, Esquire
                          Law Offices of Linda A. Kerns, LLC
                          1420Locust Street, Suite 200
                          Philadelphia, PA 19102


                                                    /s/ Daniel T. Brier
